Case 3:22-cv-00772-TWR-DEB Document 4 Filed 06/16/22 PageID.37 Page 1 of 2




 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Plaintiff Display Technologies, LLC
 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9

10
      DISPLAY TECHNOLOGIES, LLC, CASE NO.: 3:22-CV-00772-TWR-DEB

11                 PLAINTIFF,                      PATENT CASE
12    V.
13
      ROSSMAX USA, INC.,                           NOTICE OF VOLUNTARY
14                                                 DISMISSAL WITHOUT
                   DEFENDANT.                      PREJUDICE
15

16

17         Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this
18   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20   by the plaintiff without order of court by filing a notice of dismissal at any time before
21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
22   dismisses this action against Defendant Rossmax USA, Inc. (“Defendant” and/or
23   “Rossmax”) without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear
24   its own fees and costs.
25

26

27

28

                                               1
                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Case 3:22-cv-00772-TWR-DEB Document 4 Filed 06/16/22 PageID.38 Page 2 of 2




 1   Dated: June 16, 2022                   Respectfully submitted,
 2
                                            /s/Stephen M. Lobbin
 3                                          Stephen M. Lobbin
 4
                                            sml@smlavvocati.com
                                            SML AVVOCATI P.C.
 5                                          888 Prospect Street, Suite 200
 6                                          San Diego, California 92037
                                            (949) 636-1391 (Phone)
 7

 8                                          Attorney(s) for Plaintiff

 9                             CERTIFICATE OF SERVICE
10
            I hereby certify that on June 16, 2022, I electronically transmitted the foregoing
11   document using the CM/ECF system for filing, which will transmit the document
12   electronically to all registered participants as identified on the Notice of Electronic
     Filing, and paper copies have been served on those indicated as non-registered
13   participants.
14                                           /s/Stephen M. Lobbin
                                             Stephen M. Lobbin
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               2
                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
